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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ) CRIMINAL NO.
)
v. ) Count 1: 18 U.S.C. § 371
) (Conspiracy)
PRAKAZREL MICHEL, )
LOW TAEK JHO ) Count 2: 18 U.S.C. §§ 1001 & 2
) (False Statement)
)
) Count 3: 18 U.S.C. §§ 1519 & 2
) (False Entry in Record)
)
) Count 4: 18 U.S.C. §§ 1519 & 2
) (False Entry in Record)
INDICTMENT
THE GRAND JURY CHARGES:
At all times relevant to this Indictment:
INTRODUCTION
1. Through its election laws, Congress prohibited foreign nationals from making

contributions, donations, and certain expenditures in connection with federal, state, and local
elections, and prohibited anyone from making contributions in the name of another. Congress
further required public reporting through the Federal Election Commission (FEC) of the sources
and amounts of contributions and expenditures made in connection with federal elections. The
purpose of these laws, taken together, is to protect the United States electoral system from illegal
foreign financial influence, and to further inform all candidates, their campaign committees,

federal regulators, and the public of any effort by foreign nationals to influence federal elections

with foreign money.
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2. The defendants, PRAKAZREL MICHEL and LOW TAEK JHO (“JHO LOW”),
conspired to circumvent federal law against foreign influence by engaging in a scheme to funnel
millions of dollars of foreign money from JHO LOW into an election for the Office of President
of the United States so that JHO LOW and MICHEL could buy access to, and potential influence
with, a candidate, the candidate’s campaign, and the candidate’s administration. The defendants
concealed the scheme from the candidate, the candidate’s campaign and administration, federal
regulators, and the public by secretly funneling foreign money from JHO LOW through a series
of straw donors (also known as “conduits” or “straw contributors”) who purported to make legal
campaign contributions in their own names, rather than in the names of the true source of the funds.
MICHEL concealed the conspiracy by making and causing false statements to be made to the FEC.

THE ELECTION ACT

3. In the Federal Election Campaign Act of 1971, as amended, Title 52, United States
Code, Sections 30101, et seq. (“Election Act”) (formerly Title 2, United States Code, Sections
431, et seq.), Congress prohibited certain financial influences on the election of candidates for
federal office, including the Office of President of the United States of America.

4. To prevent the influence of foreign nationals on federal elections, the Election Act
prohibits foreign nationals, directly or indirectly, from making any contributions or independent
expenditures in connection with federal elections. Further, to limit the influence that any one
person could have on the outcome of a federal election, the Election Act established limits on the
amounts that even United States citizens or lawful permanent residents could contribute to a
candidate and the candidate’s authorized committee, including joint fundraising committees
(which are committees established for the purpose of fundraising for multiple committees at the

same time).
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5. To prevent individuals from circumventing the Election Act, and to enable the
detection of attempts to circumvent it, the Election Act prohibits a person from making a political
contribution in the name of another person, including giving funds to a straw donor for the purpose
of having the straw donor pass the funds on to a federal candidate or to a candidate’s federal
campaign committee or joint fundraising committee, and using the straw donor’s name as if they
were making the contribution, rather than the true source of the money. The Election Act also
prohibits contributing in the name of another to an independent expenditure committee spending
to influence the outcome of that federal campaign.

6. The Federal Election Commission (FEC) is an agency and department of the United
States with jurisdiction to enforce the limits and prohibitions of the Election Act, in part by
requiring candidates, joint fundraising committees, and independent expenditure committees to
file regular reports of the sources and amounts of the contributions they receive, as well as the
certain expenditures. To deter abuses of the Election Act and thus instill public confidence in the
election process against corruption and the appearance of corruption, the Election Act requires the
FEC to publish the reports that it receives so that all of the candidates, the entire public, and law
enforcement may all see the specific information about the amounts and sources of political
contributions and expenditures involving federal candidates and registered political committees.

7. Specifically, pursuant to the Election Act, Congress requires registered political
committees, including Political Committee A and Political Committee B, to file periodic reports
to the FEC of receipts and disbursements, identifying, among other things, the name and address
of each person who made a contribution to such a committee during the relevant reporting period
whose contribution or contributions had an aggregate amount of value in excess of $200 within

the calendar year, together with the date and the amount of any such contribution.
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8. In 2012, the Election Act prohibited any contribution by a foreign national to a
joint fundraising committee or independent expenditure committee, and limited the amounts of
contributions to joint fundraising committees from any one eligible United States person.

RELEVANT INDIVIDUALS AND ENTITIES

9. Defendant PRAKAZREL MICHEL was an entertainer and businessman living in
the United States.

10. Defendant LOW TAEK JHO (“JHO LOW”) was a wealthy businessman and
foreign national from Malaysia living outside the United States.

11. Foreign National A was an associate of JHO LOW living outside the United

States.
12. Associate A and Associate B were associates of MICHEL and/or JHO LOW.
13. Candidate A was a candidate for the Office of President of the United States in
the 2012 election cycle.

14. Political Committee A was a joint fundraising committee for Candidate A’s
political party. Political Committee A received campaign contributions for the election of

Candidate A.

15. Political Committee B was an independent expenditure only committee that
supported Candidate A’s election efforts.

16. Individual A was a high dollar fundraiser for Candidate A who worked closely
with Political Committee A in organizing fundraising events.

17. Straw Donors F through P were individuals through whom MICHEL and JHO

LOW made illegal foreign and conduit contributions to Political Committee A.
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18. Company A was a British Virgin Islands company with a bank account in
Singapore.

19. Company B was a British Virgin Islands company with a bank account in
Singapore.

20. | Company C was a company owned by MICHEL’s financial advisor.

21. | Company D was a company owned by MICHEL.

22. Company E was a company owned by MICHEL.

COUNT ONE
(Conspiracy)

23. | The Grand Jury incorporates paragraphs 1 through 22 of this Indictment as though
fully set forth herein.

24. From in or about June 2012 to in or about June 2015, in the District of Columbia
and elsewhere, the defendants PRAKAZREL MICHEL and JHO LOW, knowingly conspired
with each other and with others known and unknown to the Grand Jury to:

a. Knowingly defraud the United States by impairing, obstructing, and
defeating the lawful functions of a department or agency of the United States; to wit, the FEC’s
ability to administer federal regulations concerning source and dollar restrictions in federal
elections, including the prohibitions applicable to foreign nationals and straw donors.

b. Knowingly and willfully make foreign contributions and independent
expenditures, directly and indirectly, aggregating to $25,000 and more in a calendar year, in
violation of Title 52, United States Code, Sections 30121 and 30109(a)(1)(A).

c. Knowingly and willfully make contributions to a candidate for federal
office in the names of other persons, aggregating to $25,000 and more in a calendar year, in

violation of Title 52, United States Code, Sections 30122 and 30109(a)(1)(A).
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Object of the Conspiracy

25. The object of the conspiracy was for MICHEL and JHO LOW to gain access to,
and potential influence with, Candidate A and his administration, by secretly funneling foreign
money from JHO LOW through MICHEL and other straw donors to Political Committees A and
B, all while concealing from the committees, the FEC, the public, and law enforcement the true
source of the money.

Manner and Means of the Conspiracy

26. The manner and means by which MICHEL and JHO LOW carried out the

conspiracy included, but were not limited to, the following:
Use of Shell Entities and Bank Accounts

27. MICHEL, JHO LOW, and their intermediaries used shell entities and shell bank
accounts to facilitate the transfer of millions of dollars from JHO LOW to MICHEL for the purpose
of funneling significant sums of money into the United States presidential election as purportedly
legitimate contributions, all while concealing the true source of the money. From in or about June
2012 to in or about November 2012, JHO LOW directed the transfer of approximately $21,000,000
from Company A and Company B, both shell companies in the British Virgin Islands with bank
accounts in Singapore, to Company C and Company D, companies in the United States with bank
accounts under the control of MICHEL and/or his financial advisor. In addition, during the same
period, JHO LOW directed the transfer of approximately $600,000 from Company B to one of
MICHEL’s personal bank accounts in the United States. JHO LOW directed these transfers for
the purpose of making illegal excessive, foreign, and conduit political contributions to support

Candidate A.
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Use of Conduits

28. To conceal the true source of the contributions, and to facilitate illegal excessive
contributions by JHO LOW, MICHEL funneled millions of dollars from JHO LOW to political
committees through a series of straw donors or conduits, including MICHEL, Company D, and
various individuals associated with MICHEL. From in or about June 2012 to in or about
September 2012, MICHEL recruited his friends, associates, and others to act as straw donors to
make contributions to Political Committee A in their own names using a portion of the $21,600,000
MICHEL received from JHO LOW. MICHEL caused the money he received from JHO LOW to
be paid out to the straw donors through checks, direct deposits, and cash payments. At MICHEL’s
direction, the straw donors in turn used the payments to make contributions to Political Committee
A. In some instances, MICHEL, in an attempt to conceal the conspiracy, falsely characterized the
payments as remuneration for business deals or gifts.

29. —_In total, MICHEL funneled approximately $865,000 from JHO LOW to Political
Committee A through approximately 20 straw donors.

30. In addition to using straw donors to funnel foreign money from JHO LOW into
Political Committee A, MICHEL used money from JHO LOW to make approximately $1.1 million
in contributions to Political Committee B in his own name and the name of Company E, which
concealed JHO LOW as the true source of the money.

Attendance at Fundraising Events and White House Events

31. = Inorder for JHO LOW to gain access to Candidate A, MICHEL attempted to secure
permission for JHO LOW to attend private-invitation fundraising events at which Candidate A
was present. When that permission was denied, MICHEL obtained permission for JHO LOW’s

father to attend a fundraising event and obtain photographs with Candidate A. In an effort to raise
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his profile with Candidate A’s campaign and administration as a high dollar fundraiser, MICHEL
also attended the fundraising events with numerous straw donors he recruited to make
contributions to Political Committee A.

32. Through his dealings with and related to Political Committee A, MICHEL was
made aware of the prohibition on contributions from foreign nationals and conduit contributions.

33. To gain further access to and influence with Candidate A and his administration,
JHO LOW attended or arranged for his associates to attend events at the White House with
Candidate A.

False Statements to the FEC

34. MICHEL, Company E, and the straw donors made contributions to Political
Committees A and B in their own names, rather than the name of JHO LOW, thus concealing the
true source of the contributions. As a result, MICHEL caused Political Committees A and B to
make false entries in multiple campaign contribution reports submitted to the FEC about the true
source of the contributions. To further conceal the true source of the contributions, and to maintain
his appearance as a high dollar fundraiser for Candidate A, MICHEL made false entries in a
declaration he submitted to the FEC claiming that he was the source of the contributions to Political
Committee B.

Use of False Tax Records

35, To further conceal JHO LOW as the true source of approximately $21,000,000
that was transferred to MICHEL from foreign accounts, and to help MICHEL avoid or reduce
potential tax liability based on his receipt and distribution of the money, MICHEL created and
submitted false tax records purporting to show that the money he received from overseas and

subsequently paid out to some of the straw donors were gifts.
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Overt Acts

36. In furtherance of the conspiracy and to effect its illegal object, MICHEL and JHO
LOW committed the following overt acts, among others, in the District of Columbia and elsewhere
in connection with their efforts to secretly funnel money from JHO LOW to Political Committees
A and B.

Conduit Contributions to Political Committee A and Attendance at Fundraisers

37. In or about June 2012, MICHEL informed his financial advisor that he would
receive a large sum of money from an individual MICHEL identified as “JHO,” and that the first
installment would be approximately $1,000,000. MICHEL’s financial advisor offered to have the
money temporarily maintained in the account of one of the financial advisor’s companies,
Company C.

38. Onor about June 10, 2012, MICHEL received a private invitation for a fundraising
event for Political Committee A to be held at the residence of a campaign supporter in Miami,
Florida on June 26, 2012. The invitation stated that Candidate A would be in attendance at the
fundraiser. The second page of the invitation indicated that attendance at the event required a
contribution of at least $40,000. The invitation further stated, “Federal law requires us to use our
best efforts to collect and report the name, mailing address, occupation and employer of individuals
whose contributions exceed $200 in an election cycle.” The invitation also outlined the prohibition
on foreign and conduit contributions: “Federal Law prohibits foreign nationals, except lawfully
admitted permanent residents of the U.S., from contributing to [Political Committee A]. By
signing below, I certify that I am a U.S. citizen or lawfully admitted permanent resident of the
U.S., the funds I am donating are not being provided to me by another person or entity for the

purpose of making this contribution, and that my contribution shall be allocated as stated below.”
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39. On or about June 15, 2012, JHO LOW caused $1,000,000 to be transferred from
Company A to Company C. Prior to the $1,000,000 transfer, Company C’s account had a balance
of approximately $65.

40. On or about June 18, 2012, MICHEL caused $150,000 to be transferred from
Company C to MICHEL’s personal account, which had a balance of approximately $1,343 at the
time.

41. On or about June 18, 2012, MICHEL wrote a check to Political Committee A for
$40,000 from his personal account.

42. On or about June 21, 2012, MICHEL caused an additional $200,000 to be
transferred from Company C to MICHEL’s personal account.

43. Starting on or about June 21, 2012, using the money he received from JHO LOW,
MICHEL began paying straw donors and directing them to make illegal conduit contributions to
Political Committee A. Between on or about June 21, 2012 and on or about September 5, 2012,
MICHEL made the following payments to straw donors and caused the following illegal foreign

and conduit contributions, among others:

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Straw Donor Approximate Amount of Approximate Donation
Date MICHEL Money Date of Straw Amount
Provided Money MICHEL Donation
for Contribution Provided
Donor F June 21, 2012 $30,000 June 28, 2012 $30,000
Donors G & June 25, 2012 $75,000 June 28, 2012 $40,000 &
H $40,000
Donors I & August 2, 2012 $80,000 August 7, 2012 & | $40,000 &
J September 5, $40,000
2012
Donor K August 3, 2012 | $40,000 August 13,2012 | $40,000
Donor L August 7, 2012 | $40,000 August 13,2012 | $40,000
Donor M August 14, 2012 | $40,000 August 23, 2012 | $40,000
Donor N August 13, 2012 | $40,000 August 27,2012 | $40,000
Donor O August 17, 2012 | $75,000 August 23, 2012 | $75,000
Donor P August 22, 2012 | $40,000 August 28, 2012 | $40,000

 

 

 

 

44. In or about August 2012, one of the potential straw donors to whom MICHEL
provided $40,000 to donate to Political Committee A expressed her concerns about the legality of
the arrangement, and told MICHEL that she did not plan to donate the money so that she could
attend a fundraising event. MICHEL responded, “Okay.”

45. On or about June 25, 2012, JHO LOW traveled from Singapore to Miami, Florida
on his private jet to attend the fundraising event and meet Candidate A. MICHEL attempted to
get last-minute permission for JHO LOW to attend the event, but permission was denied shortly
before the event began.

46. On or about June 26, 2012, MICHEL attended the fundraising event in Miami,
Florida along with Associate A and Associate B, as well as some of the straw donors MICHEL
recruited to make contributions to Political Committee A. MICHEL, Associate A, and Associate
B met Candidate A at the event and took photographs with Candidate A.

47. On or about July 9, 2012, MICHEL’s financial advisor emailed MICHEL, in part,

“We did not receive a wire yet for the $600,000. What is the schedule of wires? Any updates?”

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48. On or about July 11, 2012, MICHEL emailed his financial advisor, “By Friday [1]
the [sic] 600k and I would say by next Pll have the 2m.”

49. On or about July 31, 2012, MICHEL’s financial advisor emailed MICHEL asking,
“No wire yet? You may want to call them and ask for a tracking number.” That same day,
MICHEL responded, “Well I hammered them yesterday and they assured me it’!] be there so let’s
give it till tomorrow and then I get on top of them again. Believe at this point I’m not concern
[sic] about more those other guys who’s waiting for their share if you know what I mean.”

50. On or about August 2, 2012, JHO LOW caused $600,000 to be transferred from
Company B to MICHEL’s personal account, which had a balance of approximately $35,575 at the
time.

51. On or about August 7, 2012, JHO LOW caused $9,000,000 to be transferred from
Company B to one of MICHEL’s companies, Company D. Prior to the transfer of $9,000,000, the
balance in Company D’s account was approximately $50.

52. Between on or about August 2, 2012, and on or about August 22, 2012, using the
money he received from JHO LOW, MICHEL paid approximately $800,000 to multiple straw
donors, including, but not limited to, those set forth in paragraph 43 above, who in turn made
contributions to Political Committee A totaling approximately $755,000.

53. On or about August 21, 2012, MICHEL’s financial advisor sent him an email
discussing tasks they needed to complete related to MICHEL’s financial affairs. Among the tasks
listed on “things we need to do,” MICHEL’s financial advisor wrote, “Letters from Joe [sic]
indicating the gift to both [Company C] and [Company D].”

54. On or about August 28, 2012, MICHEL received from Individual A an email about

a fundraising event in Washington, D.C. to be held at Individual A’s residence on September 14,

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2012. In the email, Individual A advised MICHEL, “Send this to your folks.” Attached to the
email was a private invitation to the fundraiser. The invitation included information similar to that
provided in the invitation to the Miami, Florida fundraiser in June 2012 referenced in paragraph
38, including the advisement concerning the prohibition on foreign and conduit contributions.

55. Between in or about August 2012 and in or about September 2012, MICHEL made
efforts to secure permission for JHO LOW and JHO LOW’ father to attend the fundraising event
for Political Committee A at the residence of Individual A in Washington, D.C. in September 2012.

a. Onor about August 21, 2012, Foreign National A emailed Associate A a copy
of passports for JHO LOW and JHO LOW’s father. On or about that same day,
Associate A forwarded the email to MICHEL. On or about August 28, 2012,
MICHEL forwarded the email to Individual A to assist Political Committee A
in vetting JHO LOW and JHO LOW’s father for attendance at the fundraiser in
Washington, D.C.

b. On or about August 28, 2012, MICHEL emailed Individual A a biographical
summary for JHO LOW’s father detailing his educational and work history. On
or about that same day, Individual A forwarded the biographical summary to
representatives of Political Committee A, and one of the representatives
responded, “Got it. Will get Jho’s dad vetted ASAP.”

c. On or about September 10, 2012, Individual A emailed MICHEL, “All I need
now is Jho’s dad passport and [Associate B’s] passport.” On or about that same
day, MICHEL emailed Individual A a copy of Associate B’s passport. Also on
or about that same day, MICHEL emailed Individual A identifiers for several

straw donors and Associates A and B.

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d. On or about September 11, 2012, a representative of Political Committee A
emailed Individual A under the subject line, “Vitals Still Needed,” asking for
additional identifiers for prospective attendees at the Washington, D.C.
fundraiser. Among the information requested was “Passport number and DoB,
or better copy of Passport” for JHO LOW’s father. On or about that same day,
Individual A forwarded the email to MICHEL and wrote, “Ok. Waiting on Jho’s
dad passport num & date of birth.” MICHEL responded, “them dudes still in
the air but im on it.” Later that same day, MICHEL emailed Individual A a
national identification number and date of birth for JHO LOW’s father, and a
photograph of JHO LOW’s father’s passport.

56. On or about September 14, 2012, MICHEL attended the fundraising event at the
residence of Individual A in Washington, D.C., along with JHO LOW’s father, Associates A and
B, and multiple straw donors MICHEL had recruited to make contributions to Political Committee
A. During the fundraiser, MICHEL sat to one side of Candidate A, and JHO LOW’s father sat on
the other side of Candidate A. MICHEL and JHO LOW’s father each took multiple personal
photographs with Candidate A at the fundraiser, as did Associates A and B.

57. In or about November 2012, MICHEL, JHO LOW’s father, and Associates A and
B submitted separate orders to the photographer from the Washington, D.C. fundraising event to
obtain multiple copies of the photographs of MICHEL, JHO LOW’s father, and Associates A and
B greeting Candidate A and sitting near Candidate A at the fundraiser.

58. On or about October 1, 2012, MICHEL emailed his financial advisor, “[P]lease
don’t forget the wire today I’m very low in cash like only have 500 bucks low. Thanks.” On or

about that same day, MICHEL’s financial advisor responded, in part, “[W]ill be wiring your cash

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as soon as the bank opens. It should be about $25,000. You good?” MICHEL responded, “Ok
great thanks. Yeah | just got to NY last night I’m good for now. I maybe in NY then [sic] we
catch up. Also I’ll keep you posted on this next and last wire coming in from JHo [sic].”

59. On or about November 6, 2012, JHO LOW caused $11,000,000 to be transferred
from Company A to Company D.

60. On or about April 5, 2013, for the purpose of preparing his income tax return,
MICHEL provided his accountant a letter ostensibly from Foreign National A stating that Foreign
National A had gifted MICHEL $20,000,000 in three separate transfers from Companies A and B
to Companies C and D.

Conduit Contributions to Political Committee B

61. On or about September 7, 2012, using the money he received from JHO LOW,
MICHEL made a contribution of $250,000 to Political Committee B in his own name.

62. On or about October 12, 2012, using the money he received from JHO LOW,
MICHEL made a contribution of $400,000 to Political Committee B in the name of Company E.

63. On or about October 24, 2012, using the money he received from JHO LOW,
MICHEL made a contribution of $475,000 to Political Committee B in the name of Company E.

False Reports to the FEC

64. On or about July 20, 2012, MICHEL caused Political Committee A to submit an
FEC Form 3X “Report of Receipts and Disbursement for Other Than an Authorized Committee”
to the FEC in Washington, D.C., falsely attributing multiple contributions to straw donors when
in fact they were not the true source of the contributions. On or about June 3, 2013, MICHEL

caused Political Committee A to submit an amended report containing the same false statements.

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65. On or about September 20, 2012, MICHEL caused Political Committee A to submit
an FEC Form 3X “Report of Receipts and Disbursement for Other Than an Authorized
Committee” to the FEC in Washington, D.C., falsely attributing multiple contributions to straw
donors when in fact they were not the true source of the contributions. On or about February 6,
2013, MICHEL caused Political Committee A to submit an amended report containing the same
false statements.

66. On or about October 15, 2012, MICHEL caused Political Committee B to submit
an FEC Form 3X “Report of Receipts and Disbursements for Other Than an Authorized
Committee” to the FEC in Washington, D.C., falsely claiming that MICHEL was the true source
of a contribution to Political Committee B when in fact JHO LOW was the true source of the
contribution.

67. On or about October 25, 2012, MICHEL caused Political Committee B to submit
an FEC Form 3X “Report of Receipts and Disbursements for Other Than an Authorized
Committee” to the FEC in Washington, D.C., falsely claiming that Company E was the true source
of contributions to Political Committee B when in fact JHO LOW was the true source of the
contributions.

68. On or about December 6, 2012, MICHEL caused Political Committee B to submit
an FEC Form 3X “Report of Receipts and Disbursements for Other Than an Authorized
Committee” to the FEC in Washington, D.C., falsely claiming that Company E was the true source
of a contribution to Political Committee B when in fact JHO LOW was the true source of the
contributions. On or about January 30, 2013, MICHEL caused Political Committee B to submit

an amended report containing the same false statement.

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Complaint with the FEC

69. On or about April 13, 2015, a complaint was filed with the FEC alleging that
MICHEL had illegally made contributions to Political Committee B “in the name of another” by
causing Company E to contribute $875,000 to Political Committee B, concealing MICHEL as the
source of the funds.

70. On or about June 15, 2015, in response to the complaint, MICHEL caused to be
submitted to the FEC in Washington, D.C. a false declaration signed under the penalties of perjury,
stating, in relevant part, that MICHEL “made four contributions to an independent expenditure
only committee called [Political Committee B],” and that he “had no reason to hide the true source
of [his] donations to [Political Committee B] nor did [he] wish to diminish the disclosure of source
or amounts of [his] contributions to [Political Committee B] as being attributable to [him].”
MICHEL made no reference to JHO LOW in his declaration and concealed that JHO LOW was
the true source of the contributions made to Political Committee B.

All in violation of Title 18, United States Code, Section 371.

COUNT TWO
Concealment of Material Facts
(Title 18, United States Code, Sections 1001(a)(1), and 2)

71. The Grand Jury incorporates paragraphs 1 through 70 of this Indictment as though
fully set forth herein.

72. From on or about July 20, 2012 until on or about June 15, 2015, in the District of
Columbia and elsewhere, the defendant,

PRAKAZREL MICHEL,
knowingly and willfully falsified, concealed, and covered up, by a trick, scheme, and device, a

material fact; to wit, he made and caused to be made false, fictitious, and fraudulent statements or

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representations in a matter within the jurisdiction of the executive branch of the government of the
United States, by causing Political Committee A to make false statements in reports of receipts
and disbursements filed with the FEC on or about July 20, 2012, September 20, 2012, February 6,
2013, and June 3, 2013, all of which falsely listed the names of straw donors as the true sources of
the contributions; by causing Political Committee B to make false statements in reports of receipts
and disbursements filed with the FEC on or about October 15, 2012, October 25, 2012, December
6, 2012, and January 30, 2013, all of which falsely listed MICHEL as the true source of the
contributions; and by submitting and causing to be submitted a declaration to the FEC that falsely
claimed that MICHEL made four contributions to Political Committee B, and that he had no reason
to conceal the true source of the contributions, when, in fact, as MICHEL well knew, MICHEL
had secretly funneled illegal foreign money from JHO LOW to Political Committee B in his name
and the name of Company E to conceal JHO LOW as the true source of the contributions.

All in violation of Title 18, United States Code, Sections 1001(a)(1) and 2.

COUNT THREE
Making a False Entry in a Record
(Title 18, United States Code, Sections 1519 and 2)

73. The Grand Jury incorporates paragraphs 1 through 72 of this Indictment as though
fully set forth herein.

74. On or about June 3, 2013, in the District of Columbia and elsewhere, the defendant,

PRAKAZREL MICHEL,

with the intent to impede, obstruct, and influence, and in relation to and contemplation of, the
investigation and proper administration of matters within the jurisdiction of departments and

agencies of the United States, knowingly concealed, covered up, falsified, and made a false entry

in records, documents, and intangible objects; to wit, MICHEL caused Political Committee A to

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make false statements in a report of receipts and disbursements filed with the FEC on or about
June 3, 2013, that falsely listed the names of straw donors as the true sources of the contributions.

All in violation of Title 18, United States Code, Sections 1519 and 2.

COUNT FOUR
Making a False Entry in a Record
(Title 18, United States Code, Sections 1519 and 2)

75. The Grand Jury incorporates paragraphs 1 through 74 of this Indictment as though
fully set forth herein.

76. On or about June 15, 2015, in the District of Columbia and elsewhere, the
defendant,

PRAKAZREL MICHEL,

with the intent to impede, obstruct, and influence, and in relation to and contemplation of, the
investigation and proper administration of matters within the jurisdiction of departments and
agencies of the United States, knowingly concealed, covered up, falsified, and made a false entry
in records, documents, and intangible objects; to wit, MICHEL submitted and caused to be
submitted a declaration to the FEC claiming that he made four contributions to Political Committee
B, and that he had no reason to conceal the true source of the contributions, when, in fact, as
MICHEL well knew, MICHEL had secretly funneled illegal foreign money from JHO LOW to
Political Committee B in his name and the name of Company E to conceal JHO LOW as the true
source of the contributions.

All in violation of Title 18, United States Code, Sections 1519 and 2.

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A TRUE BILL

 

FOREPERSON

ANNALOU TIROL
Acting Chief, Public Integrity Section
United States Department of Justice

By: dem

Sean Mulryne

Nicole Lockhart

Trial Attorneys

Public Integrity Section

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